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EXHIBIT A

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Ir1 re: : Chapter ll

HOTELS UNION SQUARE MEZZ 1 LLC and : Case No. 10*10971 (KJC)

HOTELS UNION SQUARE MEZZ 2 LLC, : (Jointly Administered)
Debtol's.

 

JOINT PLAN OF LIQUIDATION
OF HOTELS UNION SQUARE MEZZ 1 LLC AND
HOTELS UNION SQUARE MEZZ 2 LLC
UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

POTTER ANDERSON & CORROON LLP
Steven M. Yoder, Esq.

Jeremy W. Ryan_. Esq.

Hercules Plaza, 6th Floor

1313 N. Market Street

P.O. Box 951

Wilmington, Dglaware 19899-0951

Phone: (302) 984»6000

Facsimile: (302) 658-1192

Counselfor the Debtor.s' and Debtors in Possessz'on

Dated: August 25, 2010
Wi]ming“con, Delaware

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Hotels Union Square Mezz 1 LLC and Hotels Union Square Mezz 2 LLC, as
debtors and debtors in possession in the above-captioned chapter ll cases propose the following

joint chapter 11 P1an of Liquidation pursuant to section 1121 of title 11 of the United States
Code.

SECTION l. DEFINITIONS AND RULES OF INTERPRETATION
A. Def'niitions.

Except as expressly provided or unless the context otherwise requires, capitalized
terms not otherwise defined herein shall have the meanings ascribed to them 111 this Article I.
Any term that is used and not deflned herein, but rs defined in the Bankruptcy Code or the
Bankruptcy Rules, shall have the meaning ascribed to it therein. Where the context requires, any

' definition applies to the plural as well as the singular number:

1.1 Administrative Expense Claim means any right to payment constituting a
cost or expense of administration of any of the Chapter 11 Cases allowed under sections 503(b),
507(a)(l), or lll4(e) of the Bankruptcy Code, including, without limitation, (i) any actual,
necessary costs and expenses, incurred after the Petition Dates, of preserving the Debtors’ estates
or operating the Debtors’ businesses, (ii) any indebtedness or obligations incurred or assumed by
the Debtors, as debtors in possession, during the Chapter 11 Cases, including, without limitation,
for the acquisition or lease of property or an interest in property or the rendition of services, (iii)
the compensation and reimbursement of expenses of professionals to the extent allowed by Final
Order under sections 330 or 503 of the Bankruptcy Code, and (iv) any fees or charges assessed
against the estates of the Debtors under section 1930 of chapter 123 of title 28 of the United
States Code.

1.2- Affiliate has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code.

1.3 Allowed means, with reference to a Claim, (1) a Claim against a Debtor
that has been listed by such Debtor in the Schedules, as such Schedules may be amended by the
Debtors from time to time in accordance with Bankruptcy Rule 1009, as liquidated in amount
and not disputed or contingent and for which no contrary proof of claim has been filed, (ii) a
Claim that has been timely filed and as to which no objection to allowance or request for
estimation has been timely interposed and not withdrawn, or (iii) any Claim expressly allowed
by a Final Order or hereunder, provided that any Claim that is allowed for the limited purpose of
voting to accept or reject the P1an pursuant to an order of the Bankruptcy Court shall not be
considered “Allowed” for the purpose of Distributions hereunder; and, provided, further, that an
“Allowed” Claim shall not include, for purposes of calculating Distributions under the P1an,
interest on such Claim from and after the Petition Date, except as provided in section 506(b) of
the Bankruptcy Code, any applicable Final Order, or as otherwise expressly set forth in this P1an.

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1.4 Ballot means the ballots accompanying the Disclosure Statement upon
which certain holders of Claims or Equity Interests entitied to vote shall, among other things,
indicate their acceptance or rejection of the P1an in accordance with the P1an and the procedures
governing the solicitation process, and which must be actually received _on or before the Voting
Deadline.

1.5 Bankruptcy Code means title ll of the United States Code, as amended
from time to time, as applicable to the Chapter 11 Cases.

1.6 Bankruptcy Court means the United States Bank.ruptcy Court for the
District of Delaware, o`r any other court with jurisdiction over the Chapter ll Cases, and, to the
extent of any reference made under section 157 of title 28 of the United States Code, the unit of
such District Court having jurisdiction over the Chapter 11 Cases under section 151 of title 28 of
the United States Code.

1.7 Bankruptcy Rules means, collectively, the Federal Rules of Bankruptcy
Procedure as promulgated by the United States Supreme Court under section 2075 of title 28 of
the United States Code, as amended from time to time, applicable to the Chapter 11 Cases, and
any Local Rules of the Bankruptcy Court.

1.8 Business Day means any day other than a Saturday, a Sunday, or any
other day on which banking institutions in New York, New York are required or authorized to
close by law or executive order.

1.9 Cash means legal tender of the United States of America and equivalents
thereof

1.10 Chapter 11 Cases means the cases commenced under chapter ll of the
Bankruptcy Code by the Debtors on the Petition Dates in the Bankruptcy Court and being jointly
administered with one another under Case No. 10-10971, and the phrase “Chapter 11 Case”
when used with reference to a particular Debtor means the particular case under chapter 11 of the
Banl<ruptcy Code that such Debtor commenced on the Petition Date with the Bankruptcy Court.

1.11 Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.

1.12 Class means any group of Claims or Equity Interests classified by the P1an
pursuant to section 1122(a) of the Bankruptcy Code.

1.13 Confirmation Date means the date on which the clerk of the Bankruptcy
Court enters the Confirmation Order.

1.14 Confirmation Order means the order of the Bankruptcy Court continuing
the P1an pursuant to section 1129 of the Bankruptcy Code.

1.15 Debtors means, collectively, Mezz 1 Debtor and Mezz 2 Debtor (each

individually a “Debtor," and, when the context so requires, in its capacity as a debtor and debtors
in possession under sections 1107 and 1108 of the Bankruptcy Code).

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1.16 DekaBank means DekaBank Deutsche Girozentrale, a German banking
corporation

1.17 DekaBank Claim means all Claims against Mezz 1 Debtor arising under
the Mezz l Loan and the Mezz l Loan Documents.

1.18 Debtors in Possession means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the
Bankruptcy Code. `

1.19 Disbursing Agem‘ means any entity ( including any applicable Debtor if it
acts in such capacity) in its capacity as a disbursing agent under section 6.3 hereof.

1.20 Disclosure Statement means the written disclosure statement (inc]uding
all schedules thereto or referenced therein) that relates to the P1an, as such disclosure statement
may be amended, modified, or supplemented from time to time, all as approved by the
Bankruptcy Court.

1.21 Disputed Claim means any Claim that has not been Allowed, provided
that any Claim asserted against the Debtors that has been disallowed or expunged by the
Bankruptcy Court or withdrawn by the entity asserting such Claim shall, at that point, no longer
be a Claim against the Debtors.

1.22 Ejj“ective Date means the Business Day selected by the Debtors on or after
which all of the conditions to the consummation of` the P1an set forth in Section 9.2 of the P1an
have been satisfied or waived as provided in Section 9.4 of the P1an.

1.23 Equity Interest means the legal, equitable, contractual and other rights of
any Person with respect to the membership interests, common stock or any other equity
securities of, or ownership interests in, each of the Debtors.

1.24 Escrow Agent means Land Services USA, Inc., as Escrow Agent under
the Settlement Agreement.

1.25 Estates means the bankruptcy estates ofthe Debtors created pursuant to
section 541 of the Bankruptcy Code.

1.26 Final Order means an order or judgment of the Bankruptcy Court entered
by the clerk of` the Bankruptcy Court on the docket in the Chapter 11 Cases, no portion of which
has been reversed, vacated, or stayed and as to which (1) the time to appea], petition for
certiorari, or move for a new trial, reargument, or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for a new trial, reargument, or rehearing shall
then be pending, or (ii) if an appeal, writ of certiorari, new trial, reargument, or rehearing thereof
has been sought, such order or judgment of the Bankruptcy Court shall have been affirmed by
the highest court to which such order was appealed, or certiorari shall have been denied, or a
new trial, reargument, or rehearing shall have been denied or resulted in no modification of such
order, and the time to take any further appeal, petition for certiorari or move for a new trial,
reargument, or rehearing shall have expired; provided, however, that the possibility that a motion

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under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed relating to such order shall not cause such order to not be a Final
Order.

1.27 General Unsecured Claim means any Claim other than the DekaBank
Claim, the USRHC Claim, Other Secured Claim or a claim entitled to priority under section 507
of the Bankruptcy Code, including any claims based on rejection of contracts, litigation
claimants to the extent not covered by insurance and other general unsecured claimants

1.28 Host means Rocldedge Hotel Properties, lnc., a Delaware corporation

1.29 Hotel means the W Hotel - Union Square, located at 201 Park Avenue
South, New York, New York.

1.30 Hoi‘el Equity means all of the equity ownership interests in the Hotel
Owner.

1.31 Hotel Owner means Hotels Union Square LLC, a Delaware limited
liability company.

1.32 Impaired means, with reference to a Claim or Equity Interest, that the
treatment of such Claim cr Equity Interest under the P1an does not satisfy the requirements
specified in either subsection 1124(1) or 1124(2) of the Bankruptcy Code.

1.33 Installment Note means the Promissory Note to be given by Venture LLC
to a nominee of LEM as provided for in the Settlement Agreement.

1.34 Intercompany Claim means (i) any account reflecting intercompany book
entries by or against any Debtor with respect to any Affiliate, (ii) any Claim that is not reflected
in such book entries and is held by or against any Debtor with respect to any Affiliate or (iii)
Claims arising under any contract or other agreement between any Debtor and its Affiliate.

1.35 Istithmar Guaran¢or means Istithmar Building FZE, a Jebel Ali Free
Zone establishment incorporated in Dubai under lmplernenting Regulations 1/92 issued under
Emirate of Dubai Law 9 of 1992.

1.36 Istithmar Interest means the membership interest of USRHC in the
Venture as described in the Venture Operating Agreement.

1.37 LEM means 201 Park Avenue South PEH L.L.C., a Delaware limited
liability company.

1.38 LEM Funding Obligations means the obligations of LEM to fund any
amounts required to satisfy any valid Administrative Expense Claims, Priority Tax Claims, Other
Secured Claims and General Unsecured Claims, subject to any right of LEM to reimbursement
under the terms of the Settlement Agreement.

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1.39 Mezz 1 Collateral means the Mezz 1 Debtor’s ownership interest in the
Hotel Owner as pledged to DekaBank. ' ‘ -

1.40 Mezz 1 Debtor means Hotels Union Square Mezz l LLC, a Delaware
limited liability company.

1.41 Mezz 1 Loan means that certain loan, held by DekaBank, to Mezz 1
Debtor in the original principal amount of $60,000,000, secured by the Mezz 1 Collateral.

1.42 Mezz 1 Loan Documents means all documents evidencing and/or securing
the Mezz 1 Loan.

1.43 Mezz 1 Petition Date means March 23, 2010.

1.44 Mezz 2 Collateral means Mezz 2 Debtcr’s ownership interest in Mezz l
Debtor as pledged to USRHC.

_ 1.45 Mezz 2 Debtor means Hotels Union Square Mezz 2 LLC, a Delaware
limited liability company.

1.46 Mezz 2 Loan means that certain loan, held by USRHC, to Mezz 2 Debtor
in the original principal amount of 837,000,000, secured by the Mezz 2 Collateral.

1.47 Mezz 2 Loan Documents means all documents evidencing and/or securing
the Mezz 2 Loan.

1.48 Mezz 2 Petition Date means March 25 , 2010.

1.49 Mezz 3 Borrower means Istithmar Hotels Union Square Mezz 3 LLC, a
Delaware limited liability company.

1.50 Mezz 3 Collateral means Mezz 3 Borrower’s ownership interest in Mezz 2
Debtor.

1.51 Mezz 3 Loan means that certain ioan, held by LEM, to Mczz 3 Borrower
in the original principal amount of $20,000,000, secured by the Mezz 3 Collateral.

1.52 Mezz 3 Loan Documents means all documents evidencing and/or securing
the Mezz 3 Loan.

1.53 Mortgage Loan means that certain loan, held by Wells Fargo Bank, N.A.,
as trustee for the Registered Holders of Credit Suisse First Boston Mortgage Securities Corp.,
Commercial Mortgage Pass-Through Certificates, Series 2006-C5, to Hotel Owner in the
original principal amount of $l 15,000,000, secured by Hotel Owner’s interest in the Hotel.

1.54 Mortgage Loan Documem‘s means all documents evidencing and/or
securing the Mortgage Loan.

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1.55 Other Secured Claim means a Claim, the amount of which (i) has been
determined by a Final Order to be secured pursuant to section 506(a) and, if applicable, section
1111 of the Bankruptcy Code or (ii) in the absence of such Final Order, has been agreed by the
Debtors to be secured (as set forth in the P1an or otherwise), other than the DekaBank Claim and
the USRHC Claim.

1.56 Outside Date means September 15, 2010, or such later date as all
Settlement Agreement Parties may agree to in writing.

1.57 Person means an individual, partnership, corporation, limited liability
company, cooperative, trust, unincorporated organization, association, joint venture, government
or agency or political subdivision thereof or any other form of legal entity.

1.58 Petition Date or Petition Dates means, individually or collectively, the
Mezz 1 Petition Date and/or the Mezz 2 Petition Date, as applicable

1.59 P1an or P1an of Liquidation means this joint chapter ll plan of
liquidation, including the exhibits hereto, as the same may be amended or modified from time to
time in accordance with the provisions of the Bankruptcy Code and the terms hereof

1.60 P1an Supplement means the compilation of documents, including any
exhibits to the P1an not included herewith, that the Debtors may file with the Bankruptcy Court
on or before the date that is three (3) Business Days prior to the commencement of the hearing to
confirm the P1an.

1.61 Priority Nan-Tax Claim means any Claim (other than an Administrative
Claim or a Priority Tax Claim) to the extent entitled to priority in payment under section 507(a)
of the Bankruptcy Code.

1.62 Priority Tax Claim means any Claim of a governmental unit of the kind
entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy
Code that is due and payable on or before the Effective Date. Any Claims asserted by a
governmental unit on account of penalties shall not be Priority Tax Claims.

1.63 Protective Advances means funds advanced by DekaBank after March 24,
2010 in accordance with the Mezz l Loan Documents.

1.64 Released Parties means (i) each Debtor, (ii) each of the Settlement
Agreernent Parties, (iii) Venture LLC and (iv) with respect to each of the forgoing, each of their
respective past, present, or future parent corporations, subsidiaries, affiliates, officers, directors,
owners, stockholders, members, partners, attomeys, trustees, employees, agents, predecessors,
successors, heirs, assigns, administrators, executors, and personai representatives and others
within or subject to their control.

1.65 Sale means the sale of the Hotel Equity, as set forth in Section 5.3 hereof

1.66 Sale Documents shall have the meaning set forth in Section 5.9 hereof.

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1.67 Schedules means the schedules of assets and liabilities and the statement
of financial affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy
Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules as such schedules and
statements have been or may be supplemented or amended from time to time through the
Confirmation Date.

1.68 Settlement Agreement means that certain Settlement Agreement, dated as
of July 14, 2010, by and among the following parties, and including all scheduled creditors in
these cases, Hotel Owner, Mezz 1 Debtor, Mezz 2 Debtor, LEM, Mezz 3 Borrower, USRHC,
Istithmar Guarantor, DekaBank, Host Hotels & Resorts L.P., Host and Escrow Agent.

1.69 Settlement Agreement Parties means each party to the Settlement
Agreement other than the Escrow Agent.

1.70 Solicitation Agent means the Debtors, or any Person designated by the
Debtors to serve as a solicitation agent under the P1an.

1.71 Tax Code means the Intemal Revenue Code of 1986, as amended from
time to time, and the 'l`reasury regulations promulgated thereunder.

1.72 Unimpaired means, with reference to a Claim or Equity Interest, that the
treatment of such Claim or Equity Interest under the P1an satisfies the requirements specified in
either subsection 1124(1) or 1124(2) of the Bankruptcy Code, Rules of Interpretation;
Application of Definitions and Rules of Construction.

1.73 USRHC means Union Square Real Holding C.orporation, an exempted
company incorporated in the Cayman Islands. .

1.74 USRHC Claim means all Claims against Mezz 2 Debtor arising under the
Mezz 2 Loan and the Mezz 2 Loan Documents.

1.75 Venture LLC means the Delaware limited iiability company to be formed
on or about the Effective Date, which shall acquire the Hotel Equity pursuant to the Sale.

1.76 Venture operating Agreement means the limited liability company
agreement for Venture LLC.

1.77 Voting Deadline means 4:00 P.M. Prevailing Eastern Time on August
18, 2010.

Unless otherwise specified, all section or exhibit references in the P1an are to the
respective section in, or exhibit to, the Plan, as the same may be amended or modified from time
to time. The words “herein," “hereof,” “hereto,” “hereunder,” and other words of similar import
refer to the P1an as a whole and not to any particular section, subsection, or clause contained
therein. The rules of construction contained in section 102 of the Bankruptcy Code shall apply
to the P1an. The headings in the P1an are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof.

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SECTION 2. ADMINISTRATIVE EXPENSE AND PR]ORITY CLAIMS
2.1 Administrative Expense Claims.

Except to the extent that a holder of an Allowed Administrative Expense Claim
agrees to a different treatment, the Debtors, or LEM on behalf of the Debtors pursuant to the
LEM Funding Obligations, shall pay to such holder Cash in an amount equal to such Claim on,
or as soon thereafter as is reasonably practicable, the later of (i) the Effective Date or (ii) the first
Business Day after the date that is thirty (30) calendar days after the date such Administrative
Expense Claim becomes Allowed; provided however, that Allowed Administrative Expense
Claims representing liabilities incurred in the ordinary course of business by the Debtors, as
debtors in possession, or liabilities arising under loans, advances, or other financial
accommodations, made to or other obligations incurred by the Debtors, as debtors in possession,
whether or not incurred in the ordinary course of business, shall be paid by the Debtors, or by
LEM on behalf of the Debtors pursuant to the LEM Funding Obligations, in the ordinary course
of business, consistent with past practice and in accordance with the terms and subject to the
conditions of any agreements governing, instruments evidencing, or other documents relating to
such transactions

2.2 Compensation and Reimbursement` Claims.

Ail entities seeking an award by the Bankruptcy Court of compensation for
services rendered or reimbursement of expenses inclined through and including the
Confirmation Date under section 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy
Code (i) shall file their respective final applications for allowance of compensation for services
rendered and reimbursement of expenses incurred by the date that is forty-five (45) days after the
Effective Date, (ii) shall be paid in full from the Debtors’ Cash on hand, or by LEM on behalf of
the Debtors pursuant to the LEM Funding Obligations, in such amounts as are allowed by the
Bankruptcy Court (A`) on the later of (x) the Effective Date, or (y) within five (5) Business Days
after the date on which the order approving such Allowed Administrative Expense Claim is
entered, or (B) on such other terms as may be mutually agreed on between the holder of such an
Allowed Administrative Expense Claim and the Debtors. The Debtors are authorized to pay
compensation for services rendered or reimbursement of` expenses incurred after the
Confirmation Date and until the Effective Date in the ordinary course and without the need for
Bankruptcy Court approval.

2.3 Priority Tax Claims.

The Debtors do not believe that there are any Priority Tax Claims against the
Debtors’ Estates. To the extent that any valid Priority Tax Claims are filed, they will be paid by
LEM on behalf of the Debtors pursuant to the LEM Funding Obligations. Except to the extent
that a holder of an Allowed Priority Tax Claim agrees to a different treatment, each holder of an
Allowed Priority Tax Claim shall receive, Cash in an amount equal to such Allowed Priority Tax
Claim on, or as soon thereafter as is reasonably practicable, the later of the (a) Effective Date or
(b) first Business Day after the date that is thirty (30) calendar days after the date such Priority
Tax Claim becomes an Allowed Priority Tax Claim. All_'Allowed Priority Tax Claims that are

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not due and payable on or before the Effective Date shall be paid in the ordinary course of
business as such obligations become due.

2.4 Priority Non-Twc Claims

The Debtors do not believe that there are any Priority Non-T_ax Claims against the
Debtors’ Estates. To the extent that any valid Priority Non-'l`ax Claims are filed, they will be
paid by LEM on behalf of the Debtors pursuant to the LEM Funding Obligations. Except to the
extent that a holder of an Allowed Priority Non-Tax Claim agrees to a different treatment, each
holder of an Allowed Priority Non-Tax Claim shall receive, Cash in an amount equal to such
Allowed Priority Non-Tax Claim on, or as soon thereafter as is reasonably practicable, the later
of the (a) Effective Date or (b) first Business Day after the date that is thirty (30) calendar days
after the date such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim. All
Allowed Priority Non-Tax Claims that are not due and payable on or before the Effective Date
shall be paid in the ordinary course of business as such obligations become due.

SECTION 3. CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

The following table designates the Classes of Claims against and Equity Interests
in the Debtors and specifies which of those Classes are (i) Impaired or Unimpaired by the Plan,
(ii) entitled to vote to accept or reject the P1an, and (iii) deemed to accept or reject the P1an. A
Claim or Equity Interest is designated in a particular class only to the extent it falls within the
description of that class, and is classified in any other class to the extent that a portion thereof
falls within the description of such other class.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Class l Designation l Treatment l Entitled to Vote

1 MEZZ 1 DEBTOR
Mezz l Debtor DekaBank Claim Impaired Yes
Class 1
Mezz l Debtor Other Secured Claims Unimpaired No
Class 2 against Mezz 1 Debtor " (deemed to accept)
Mezz 1 Debtor General Unsecured Claims Unimpaired No
Class 3 against Mezz l Debtor (deemed to accept)
Mezz 1 Debtor Equity Interests in Impaired Yes
Class 4 Mezz 1 Debtor

MEZZ. 2 DEBTOR
Mezz 2 Debtor USRHC Claim Impaired Yes
Class A '
Merz 2 Debtor Other Secured Claims Unimpaired No
Class B ‘ against Mezz 2 Debtor (deemed to accept`)
Mezz 2 Debtor General Unsecured Claims Unimpaired 7 No
Class C against Mezz 2 Debtor (deemed to accept)
Mezz 2 Debtor Equity Interests in lmpaired Yes
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Class D Mezz 2 Debtor

 

SECTION 4. TREATMENT OF CLAIMS AND EQUITY INTERESTS

Except as otherwise specified in the Plan, all distributions will be made on the
Effective Date or as soon thereafter as practical.

4.1 Mezz 1 Debtor
(a) DekaBank Claim (Class 1).

The Dekabank Claim shall be allowed in the amount of the proof of claim filed by
DekaBank. On the Effective Date, in full satisfaction, settlement, release, and discharge of, and
in exchange for such Class 1 Claim, based on the agreements and the Settlement Agreement
implemented in connection with the P1an, including the release of the Mezz 1 Collateral, the
holder of the Class 1 Claim shall receive (i) Cash in the amount of $61 miliion (which is the
same amount in the purchase contract for its UCC sale if that had been held), (ii) Cash in the
amount of the Protective Advances made by the holder of the Class 1 Claim after March 24,
2010, if any, and (iii) the releases and indemnities under the Plan, the Settlement Agreement and
related documents

(b) Other Secured Claims against Merz 1 Debtor (Class 2).

Each holder of a valid Other Secured Claim against the Mezz 1 Debtor shall
receive, in full satisfaction, settlement, release and discharge of and in exchange for, such Other
Secured Claim, (i) Cash equal to the value of its Other Secured Claim, or (ii) such other less
favorable treatment to which LEM and such holder shall have agreed upon in writing.
Notwithstanding the foregoing, any Claim arising as a result of a tax lien that would otherwise be
an Other Secured Claim shall be paid in accordance with Section 2.3 of the P1an.

The Debtors do not believe that there are any Other Secured Claims against the
Debtors’ Estates and that any Claim which asserted secured status would likely be junior to
DekaBank’s lien on the Mezz l Coilateral and thus would be treated as a Mezz 1 Debtor - Class
3 Claim. To the extent that any valid Other Secured Claims are filed, they will be paid by LEM
on behalf of the Debtors pursuant to the LEM Funding Obligations in accordance with Section
5.8 of the P1an. `

(c) General Unsecured Claims against Mezz 1 Debtor (Class 3).

In full satisfaction, settlement, and release of, and in exchange for such Class 3
Claim, each holder of a valid Class 3 Claim shall be paid in full in Cash on the unpaid portion of
such General Unsecured Claim on the latest of (i) the Effective Date (or as soon thereafter as
reasonabiy practicable), (ii) the date on which such Claim would be paid in the ordinary course
of business, or (iii) as'otherwise agreed to by LEM and the holder of such Claim.

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The Debtors do not believe that there are any General Unsecured Claims against
the Debtors" Estates. To the extent that any valid General Unsecured Claims are filed, they will
be paid by LEM on behalf of the Debtors pursuant to the LEM Funding Obligations in
accordance with Section 5.8 of the P1an. '

(d) Equity Interests in Mezz l Debtor (Class 4).

On the Effective Date, based on the agreements and the Settlement Agreement
implemented in connection with the P1an, the holder of Equity Interests in Class 4 shall receive
the consideration set forth below under Sections4.2(a) and 4.2(d), which shall be directly
distributed to such holders as set forth below. The Equity Interests in Mezz l Debtor shall be
cancelled as of the Effective Date.

4.2 Mezz 2 Debtor
(a) USRHC Claim (Class A).

The USRHC Claim shall be allowed in the amount of $37,000,000. On the
Effective Date, in full satisfaction, settlement, release, and discharge of, and in exchange for
such Class A Claim, based on the agreements and the Settlement Agreement implemented in
connection with the Plan, including, but not limited to, the agreement of the holder of the Class
A Claim to release the Mezz 2 Collateral, the holder of the Class A Claim or its nominee shall
receive (i) the right to purchase an interest in Venture LLC as set forth in the Settlement
Agreement, (ii) the Debtors’ agreement as part of the settlement under the P1an and the
Settlement Agreement to release all claims challenging that USRHC is the rightful present holder
of the Mezz 2 Loan, and (iii) the releases and indemnities under the Plan, the Settlement
Agreement and related documents The Schedules of Mezz 2 Debtor shall be deemed to be
amended as of the Effective Date to replace Sandelman Partners CRE CDO l, Ltd. with USRHC
on Schedule D thereof

(b) Other Secured Claims against Mezz 2 Debtor (Class B).

Each holder of a valid Other Secured Claim against the Mezz 2 Debtor shall
receive, in full satisfaction, settlement, release and discharge of and in exchange for, such Other
Secured Claim, (i) Cash equal to the value of its Other Secured Claim, or (ii) such other less
favorable treatment to which LEM and such holder shall have agreed upon in writing
Notwithstanding the foregoing, any Claim arising as a result of a tax lien that would otherwise be
an Other Secured Claim shall be paid in accordance with Section 2.3 of the P1an.

The Debtors do not believe that there are any Other Secured Claims against the
Debtors’ Estates and that any Claim which asserted seemed status would likely be junior to
USRHC’s lien on the Mezz 2 Collateral and thus would be treated as a Mezz 2 Debtor - Class 3
Claim. To the extent that any valid Other Secured Ciaims are filed, they will be paid by LEM on
behalf of the Debtors pursuant to the LEM Funding Obligations in accordance with Section 5.8
of the P1an.

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(c) General Unsecured Claims against Mczz 2 Debtor .(Class C).

In full satisfaction, settlement, and release of, and in exchange for such Class C
Claim, each holder of a valid Class C Claim shall be paid in full in Cash on the unpaid portion of
such General Unsecured Claim on the latest of (i) the Effective Date (or as soon thereafter as
reasonably practicable), (ii) the date on which such Claim would be paid in the ordinary course
of business or (iii) as otherwise agreed to by LEM and the holder of such Claim.

The Debtors do not believe that there are any General Unsecured Claims against
the Debtors’ Estates. To the extent that any valid General Unsecured Claims are filed, they will
be paid by LEM on behalf of the Debtors pursuant to the LEM Funding Obligations in
accordance with Section 5.8 of the P1an.

(d) Equity Interests in Mezz 2 Debtor (Class D).

On the Effective Date, based on the agreements and the Settlement Agreement
implemented in connection with the Plan, the holder of Equity Interests in Class D shall receive
for the benefit of its nominee (i) a cash payment in the amount of $9,250,000 and the lnstal:lment
Note as set forth in the Settlement Agreement, which are being funded by Venture LLC and (ii)
the releases and indemnities under the P1an, the Settlement Agreement and related documents
The Equity Interests in Mezz 2 Debtor shali be cancelled as of the Effective Date.

SECTION 5. MEANS FOR IMPLEMENTATION
5.1 Effect ofDistribution to Creditors.

Except as specifically provided herein, all P1an distributions made to creditors
holding Allowed Claims in any Class are intended to be and shall be final, and no P1an
distribution to the holder of a Claim in one Class shall be subject to being shared with or
reallocated to the holders of any Claim in another Class by virtue of any prepetition collateral
trust agreement, shared collateral agreement, subordination agreement, or other similar inter-
creditor arrangement, all of which are being cancelled and released without giving rise to any
damages or claims against the Debtors

5.2 loith Chapter 11 Pl_an.

The Plan is a joint chapter ll plan for each of the Debtors, with the Plan for each
Debtor being non-severable and mutually dependent on the P1an for each other Debtor. The
Debtors’ estates shall be consolidated for procedural purposes only and, for the avoidance of
doubt, shall not be substantively consolidated '

5.3 Settlement Agreement and Sale.

Pursuant to the terms and conditions of the Settlement Agreement, which, upon
order of the Court, the Debtors shall file with the Court under seal, Mezz 1 Debtor has agreed to
sell the Hotel Equity to Venture LLC (the “Sale”) upon the Effective Date, and shall thereupon
apply the proceeds of such Sale on account of the distributions to be made under the P1an. The

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Effective Date shall occur upon the Closing, as defined and provided for under the Settlement
Agreement

5.4 Liquidation ofthe Debtors.

(a) The Debtors shall continue to operate as Debtors in Possession during the
period from the Confirmation Date to the Effective Date. Each of the Debtors shall be deemed to
have been liquidated as of the Effective Date, and all Equity Interests in each Debtor shall
automatically be canceled and extinguished as of the Effective Date without the need for any
further action by the Court or any Entity.

(b) Notwithstanding the foregoing, as soon as practicable after the Effective
Date, each of the Debtors shall file its certificate of dissolution, together with all other necessary
corporate documents, to effect its dissolution under the applicable laws of the state of Delaware.
The filing by each Debtor of its certificate of dissolution shall be authorized and approved in all
respects without further action under applicable taw, regulation, order or rule, including, without
limitation, any action by any members, stockholders, managers or the board of directors of each
such Debtor. 1

5.5 Cancellation of Agreements and Securities

Except (i) for purposes of evidencing a right to distributions under the Plan, or
(ii) otherwise as provided herein, all the agreements and other documents evidencing the Claims,
Equity Interests, or rights of any holder of a Claim or Equity Interests Impaired under the P1an
shall be cancelled on the Effective Date.

5.6 Directors, Managers and O_Hicers.

On the Effective Date, the authority, power and incumbency of the persons then
acting as directors, managers and officers of the Debtors shall be terminated and such directors,
managers and officers shall be deemed to have resigned or to have been removed without cause,
provided however, that the Debtors shall retain at least one acting officer for the purposes of
complying with Section 5.4.

5.'7 Effectuating Documents; Further Transactions.

The managers, chairman of the board of directors, president, chief financial
officer, any executive vice-president or senior vice-president, or any other appropriate officer,
representative or agent of each Debtor shall be authorized to execute, deliver, file, or record such
contracts, instruments, releases, indentures, and other agreements or documents, and take such
other actions, as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the P1an. The secretary, assistant secretary, manager or similar officer of the
appropriate Debtor shall be authorized to certify or attest to any of the foregoing actions

5.8 Sources of Considerationfor P1an Distributions

Except as otherwise provided in the P1an or the Confirmation Order, the
consideration necessary for the Debtors to make payments pursuant to the P1an shall be obtained

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(i) from the purchase price paid pursuant to the Settlement Agreement by Venture LLC to
Mezz l Borrower for the Hotel Equity and (ii) to the extent provided herein, from funds paid by
LEM under the LEM Funding Obligation. The Debtors do not beiieve there are any Priority Tax
Claims, Priority Non-Tax Claims, Other Secured Claims or General Unsecured Claims against
the Debtors In this regard, to the extent that any such Claims, or any Administrative Expense
Claims of the Debtors, are determined valid and payable by the Debtors, LEM has agreed to pay
such Claims pursuant to the LEM Funding Obligations.

5.9 Sale of Hotel Equily.

On the Effective Date, the Debtors are authorized to complete the Sale, and are
authorized to execute, deliver, file, record and issue all agreements and other related documents
necessary or advisable to effectuate the Sale (collectively, the “.S'ale Documents”), in each ease,
without further notice to or order of the Bankruptcy Court, act or action under applicable law,
reguiation, order or rule or the vote, consent, authorization or approval of any Person (other than
as expressly required by the Settlement Agreement), provided that, concurrently with the Sale,
Venture LLC deposits $3,100,000 in the reserve account for furniture, fixtures and equipment
required to be maintained by the Mortgage Loan Documents and amounts required under the
Mortgage Loan Documents, if any, to satisfy the seasonality reserve account established as
collateral security for the Mortgage Loan after giving effect to this P1an Upon the effectiveness
of the Sale in accordance with the terms of the Sale Documents, (i) the Debtors are authorized to
perform their obligations thereunder including, without limitation, the payment or reimbursement
of any fees, expenses, losses, damages or indemnities, (ii) the Sale Documents shall constitute
the legal, valid and binding obligations of the Debtors which are parties thereto, enforceable in
accordance with their respective terms, and (iii) no obligation, payment, transfer or grant of
security under the Sale Documents shall be stayed, restrained, voidable, or recoverable under the
Bankruptcy Code or under any applicable law or subject to any defense, reduction, recoupment,
setoff or counterclaim.' Confirmation of the P1an shall be deemed approval of the Sale (inc]uding
the transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred by the Debtors in connection therewith, including the payment of all
fees, indemnities, and expenses provided for therein) free and clear of all Claims, liens,
encumbrances, charges and other interests and authorization for the Debtors to enter into and
execute the Sale Documents.

5.10 lntercompany Claims.

On the Effective Date, any lntercompany Claims of a Debtor against the other
Debtor and/or their respective Affiliates shall be cancelled and discharged

5.1 1 Distribution ofSecuritr'es and Related Documentation.

On, or as soon as reasonably practicable after, the Effective Date, the interests in
Venture LLC, rights to purchase interests i_n Venture LLC and any and all other securities, notes,
instruments, certificates and other documents or agreements required to be issued, executed or
delivered pursuant to the P1an or the Settlement Agreement shall be directly delivered by
Venture LLC to the recipients thereof in accordance with the terms and conditions thereof, in
each case without ftu~ther notice to or order of the Bankruptcy Cotu't, act or action under

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applicable law, regulation, order or rule or the vote, consent, authorization or approval of any
Person. All docurnents, agreements and instruments entered into and delivered on or as of the
Effective Date contemplated by or in fiartherance of the Plan, and any other agreement or
document related to or entered into in connection with same, shall become, and shall remain,
effective and binding in accordance with their respective terms and conditions upon the parties
thereto, in each case without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order or rule or the vote, consent, authorization or approval of
any Person (other than as expressly required by such applicable agreement).

SECTION 6. DISTRIBUTIONS
6.1 Distribution Record Date.

At the close of business on the Confirmation Date, the transfer ledgers for holders
of the Classes of Claims or Equity Interests maintained by the Debtors shall be closed, and there
shall be no further changes in the record holders of such debt. The Debtors and the Disbursing
Agent, if any, shall have no obligation to recognize any transfer of any such Claims or Equity
Interests occurring after the Confirmation Date and shall be entitled instead to recognize and deal
for all purposes under the P1an with only those record holders listed on the transfer ledgers as of
the close of business on the Confirmation Date.

6.2 Date ofDistributions.

Except as otherwise provided herein, distributions and deliveries under the P1an
with respect to Allowed Claims or Claims deemed valid for purposes of this P1an shall be made
on the Effective Date or as soon thereafter as is practicable In the event that any payment or act
under the P1an is required, to be made or performed on a date that is not a Business Day, then the
making of such payment or the performance of such act may be completed on or as soon as
reasonably practicable after the next succeeding Business Day, but shail be deemed to have been
completed as of the required date.

6.3 Disbursing Agent.

The Disbursing Agent shall make all distributions required under the P1an. lf the
Disbursing Agent is an independent third party designated by the Debtors to serve in such
capacity, such Disbursing Agent shall receive, without further Bankruptcy Court approval,
reasonable compensation for distribution services rendered pursuant to the P1an and
reimbursement of reasonable out-of-pocket expenses incurred in connection with such services
from the Debtors on terms acceptable to the Debtors No Disbursing Agent shall be required to
give any bond or surety or other security for the performance of its duties unless otherwise
ordered by the Bankruptcy Court. If otherwise so ordered, all costs and expenses of procuring
any such bond shall be paid by the Debtors,

6.4 Powers of Disbursing Agent.

The Disbursing Agent shall be empowered to (i) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder,

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(ii) make all distributions contemplated hereby, and (iii) exercise such other powers as may be
vested in the Disbursing Agent by order of the Bankruptcy Court or pursuant to the P1an.

6.5 Surrender of Securities or Instruments.

As a condition to receiving any distribution under the Plan, each holder of a
certificated instrument or note must stu'render such instrument or note held by it to the
Disbursing Agent or its designee. Any holder of such instrument or note that fails to
(i) surrender such instrument or note, or (ii) execute and deliver an affidavit of loss and/or
indemnity reasonably satisfactory to the Disbursing Agent and fumish a bond in form, substance,
and amount reasonably satisfactory to the Disbursing Agent before the first anniversary of the
Effective Date shall be deemed to have forfeited all rights and Claims and may not participate in
any distribution hereunder, Any distribution so forfeited shall become propertyof the Debtors

6.6 Deliveiy ofDistributions.

Subject to Bankruptcy Rule 9010, or as otherwise provided in the Plan, all
distributions to any holder of an Allowed Claim or any Claim deemed valid for purposes of the
P1an, shall be made to the Disbursing Agent, who sha11 transmit such distribution to the last
known address of the applicable holders of such Claims, 111 the event that any distribution to any
holder is returned as undeliverable, the Disbursing Agent shall use reasonable efforts to
determine the current address of such holder, but no distribution to such holder shall be made
unless and until the Disbursing Agent has determined the then-current address of such holder, at
which time such distribution shall be made to such holder without interest; provided that such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
at the expiration of one (1) year from the Effective Date. After such date, all unclaimed property
or interest in property shall revert to the Debtors, and the Claim of any other holder to such
property or interest in property shall be discharged and forever barred.

6.7 M¢mner of Paymem Under P1an.

At the option of the Debtors, any Cash payment to be made under the P1an may be
made by a check, wire transfer, or such other commercially reasonable manner as the payor shall
determine in its sole discretion, or as otherwise required or provided in applicable agreements

6.8 Witkholding and Reporting Requirements.

ln connection with the P1an and all distributions thereunder, the Disbursing Agent
shall, to the extent applicable as determined in its sole discretion, comply with all tax
withholding and reporting requirements imposed by any federal, state, local, or foreign taxing
authority, and all distributions under the P1an shall be subject to any such withholding and
reporting requirements The Disbursing Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements All persons holding
Claims shall be required to provide any information necessary to effect information reporting
and the withholding of such taxes Notwithstanding any other provisions of the P1an to the
contrary, (a) each holder of an Allowed Claim or any Claim deemed valid for purposes of the
P1an shall have the sole and exclusive responsibility for the satisfaction and payment of any tax
obligations imposed by any governmentai unit, including income, withholding and other tax

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obligations, on account of such distributions, and (b) no distribution shall be made to or on
behalf of such holder pursuant to the Plan unless and until such holder has made arrangements
satisfactory to the Disbursing Agent for the payment and satisfaction of such tax obligations
Any Cash, interests in Venture LLC, other agreements and document and/or other consideration
or property to be distributed pursuant to the Plan shall, pending the implementation of such
arrangements, be treated as an unclaimed distribution pursuant to Section 6.6 herein. Any party
issuing any instruments or making any distribution under the P1an has the right, but not the
obligation, to not make a distribution until such holder has made arrangements satisfactory to
such issuing or distributing party for payment of any such tax obligations

6.9 Setojfs.

The Debtors may, but shall not be required to, set off against any Claim (for
purposes of determining the Allowed amount of such Claim on which distribution shall be
made), any claims of any nature whatsoever that the Debtors may have against the holder of such
Claim, but neither the failure to do so nor the allowance of any Claim hereunder shall constitute
a Waiver or release by the Debtors of any such claim the Debtors may have against the holder of
such Claim. Nothing in the P1an shall be deemed to expand rights to setoff under applicable non-
bankruptcy law. Notwithstanding the foregoing, the Debtors shall be deemed to waive and shall
have no right of setoff or recoupment against the holders of the DekaBank Claim and the
USR_I-IC Claim.

6.1€] Distrib actions After Effective Date.

Distributions made after the Effective Date to holders of Disputed Claims that are
not Allowed Claims as of the Effective Date but which later become Allowed Claims or are
otherwise deemed to be valid Claims pursuant to the P1an shall be deemed to have been made on
the Effective Date.

6.11 Allocatian ofDistributions Between Principa! and Interest.

To the extent that any Allowed Claim or Claim otherwise deemed to be valid
pursuant to the P1an entitled to a distribution under the P1an is comprised of indebtedness and
accrued but unpaid interest thereon, such distribution shall be allocated to the principal amount
(as determined for federal income tax purposes) of the Claim first, and then to accrued but
unpaid interest.

SECTION 7. PROCEDURES FOR RESOLVING DISPUTED, CONTINGENT, AND
UNLIQUIDATED CLAIMS

7.1 Objections to Claims.

During the pendency of the Chapter ll Cases, the Debtors or LEM shall be
entitled to object to Claims other than the DekaBank Claim and the USRHC Claim. Any
objections to Claims shall be served and filed on or before the later of` (i) one hundred twenty
(120) days after the Effective Date or (ii) such date as may be fixed by the Bankruptcy Court,
whether fixed before or after the date specified in clause (i) above.

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7 .2 Payments and Distributions with Respect to Disputed Claims,

Notwithstanding any other provision hereof`, if any portion of a Claim is a
Disputed Claim, no payment or distribution provided hereunder shall be made on account of
such Claim unless and until such Disputed Claim becomes an Allowed Claim or is otherwise
determined to be a valid Claim for purposes of the P1an.

7.3 Estimation ofClaims.

The Debtors or LEM may at any time request that the Bankruptcy Court estimate
any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy
Code or other applicable law regardless of whether an objection was previously filed with the
Bankruptcy Court with respect to such Claim or whether the Bankruptcy Court has ruled on any
such objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any
time during litigation concerning any objection to any Claim, including, without limitation,
during the pendency of any appeal relating to any such objection. In the event that the
Bankruptcy Court estimates any contingent, unliquidated, or Disputed Claim, the amount so
estimated shall constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the amount of such Claim, the Debtors or LEM may pursue
supplementary proceedings to object to the allowance of such Claim. All of the aforementioned
objection, estimation, and resolution procedures are intended to be cumulative and not exclusive
of one another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.

7.4 Distributions Relating to Disputed Claims.

At such time as a Disputed Claim becomes an Allowed Claim, the Disbursing
Agent shall distribute to the holder of such Claim, the property distributable to such holder with
respect to the Class in which such Claim belongs. To the extent that all or a portion of a
Disputed Claim is disallowed, the holder of such Claim shall not receive any distribution on
account of the portion of such Claim that is disallowed

7.5 Preservation of Rights to Settle Claims.

Except as otherwise provided herein, in accordance with section 1123(b) of the
Bankruptcy Code, the Debtors shall retain and may enforce, sue on, settle, or compromise (or
decline to do any of the foregoing) all Claims, rights, causes of action, suits, and proceedings,
whether in law or in equity, whether known or unknown, that the Debtors or their estates may
hold against any Person or entity without the approval of the Bankruptcy Court, subject to the
terms of Section 7.1 hereof, the Confirmation Order and any contract, instrument, release,
indenture, or other agreement entered into in connection herewith The Debtors or their
successor(s) may pursue such retained Claims, rights, or causes of action, suits, or proceedings,
as appropriate, in accordance with the best interests of the Debtors or their successor(s) who hold
such rights.

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7.6 Resolution of Claims Post-Closing of the Ch apter 11 Cases.

Anything herein to the contrary notwithstanding from and after the closing of` the
Chapter ll Cases, LEM shall be entitled to resolve any Claims in such manner and in any court
of` competent jurisdiction, as LEM may elect in its sole discretion

SECTION 8. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
8.1 General Treatment.

Except as otherwise provided herein, the Debtors do not believe there are any
executory contracts or unexpired leases to which any of the Debtors are a party. Out of an
abundance of caution, as of the Effective Date, to the extent there are any executory contracts or
unexpired leases__ such executory contracts and unexpired leases to which any of the Debtors are
parties are hereby rejected

8.2 Rejection Claims,

In the event that a claimant asserts it was a party to an executory contract or
unexpired lease with the Debtors which was rejected pursuant to Section 8.1 above, and such
rejection results in damages to the other party or parties to such contract or lease, a Claim for
such damages, shall be forever barred and shall not be enforceable against the Debtors, or their
respective properties or interests in property as agents, successors, or assigns, unless a proof of
claim is filed with the Bankruptcy Court and served on counsel for the Debtors on or before the
date that is thirty (30) days after the Effective Date. Any claim arising from the rejection of any
executory contract or unexpired lease shall be considered a General Unsecured Claim, and
subject to allowance, paid in accordance with Sections 4.l(c) or 4.2(c), as applicable For the
avoidance of doubt, each of the Mezz l Loan Documents and the Mezz 2 Loan Documents are
not executory contracts and in any event are being released and terminated pursuant to the P1an
and the holders thereof are receiving the applicable treatment under the P1an and shall not be
entitled to any further damages or Claims, including rejection claims, as a result of such release
and termination

8.3 Pre-existing Obligations to the Debtors under Executory Contracts and
Unexpired Leases.

Rejection or repudiation of any executory contract or unexpired lease pursuant to
the P1an or otherwise shall not constitute a termination of pre-existing obligations owed to the
Debtors under such contracts or leases. In particular, notwithstanding any nonbankruptcy law to
the contrary, the Debtors expressly reserve and do not waive any right to receive, or any
continuing obligation of a counterparty to provide, warranties or continued maintenance
obligations on goods previously purchased by the contracting Debtors from counterparties to
rejected or repudiated executory contracts

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SECTION 9. CONDITIONS PRECEDENT l
9.1 Conditions Precedent to Conjirmation.

The confirmation of the P]an is subject to the satisfaction or waiver of the
following conditions precedent

(a) the Confirmation Order shall be in form and substance reasonably
acceptable to the Debtors, DekaBank, Host and USRHC; and

G)) the Settlement Agreement shall not have been terminated
9.2 Conditions Preeedent to the Effective Date.

The occurrence of the Effective Date of the Plan is subject to the satisfaction or
waiver of the following conditions precedent

(a) the Confirmation Order shall be a Final Order in form and substance
reasonably satisfactory to the Debtors, DekaBank, Host and USRHC;

(b) all other actions, documents and agreements necessary to implement the
Plan shall have been effectuated or executed; and

(c) the conditions to closing set forth in the Settlement Agreement shall have
been satisfied or waived in accordance with the terms thereof, other than those conditions to be
satisfied simultaneously with the Effective Date.

9.3 Ejj”ect of F ailure of Condr'tc'ons to Effective Date.

If the Settlement Agreement is terminated in accordance with its terms after the
Confinnation Date or the Effective Date has not occurred by the Outside Date, then (i) the
Confirznation Order shall be deemed vacated without further order of the Bankruptcy Court, (ii)
no distributions under the Plan shall be made, (iii) the Debtors and all holders of Claims and
Equity Interests shall be restored to the status quo ante as of the day immediately preceding the
Confinnation Date as though the Confirrnation Date never occurred, and (iv) all the Debtors’
obligations with respect to the Claims and the Equity Interests shall remain unchanged and
nothing contained herein shall be deemed to constitute a waiver or release of any claims by or
against the Debtors or any other entity or to prejudice in any manner the rights of the Debtors or
any other entity in any further proceedings involving the Debtors or otherwise.

9.4 Waiver of Conditions.

Each of the conditions set forth in Sections 9.1 and 9.2 may be waived in whole or
in part by the Debtors, with the consent of DekaBank, Host and USRHC in their sole discretion,
without any notice to other parties in interest or the Bankruptcy Court and without a hearing

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9.5 Ejfect of Termination of Settlement Agreement.

Upon the termination of the Settlement Agreement at any time, (i) the P1an shall
automatically be deemed withdrawn and null and void, (ii) all votes cast in respect of the P1an
shall automatically be null and void and deemed withdrawn, and (iii) the Debtors and all holders
of Claims and Equity Interests shall be restored as provided for in the Settlement Agreement, and
(iv) all the Debtors’ obligations with respect to the Claims and the Equity Interests shall remain
unchanged and nothing contained herein shall be deemed to constitute a waiver or release of any
claims by or against the Debtors or any other entity or to prejudice in any manner the rights of
the Debtors or any other entity in any further proceedings involving the Debtors or otherwise

SECTION 10. EFFECT OF CONFIRMATION
10.1 Release of Liens.

On the Effective Date, except as otherwise provided in the P1an or in any contract,
instrument, release or other agreement or document created pursuant to the P1an, all mortgages,
deeds of trust, liens, pledges or other security interests against property of the Estates shall be
fully released and discharged and all of the right, title and interest of any holder of such
mortgages, deeds of trust, liens, pledges or other security interest shall revert to the Debtors.

10.2 Satr'sfactr'on of Claims and Termination of Equity Interes¢s.

Upon the Effective Date and in consideration of the»rights afforded herein
and the payments and distributions to be made hereunder, except as otherwise expressly
provided herein or in the Confirmation Order, each holder (as well as any trustees and
agents on behalf of each holder) of a Claim against the Debtors or Equity Interest and any
affiliate of such holder shall be deemed to have forever waived and released the Debtors to
the fullest extent permitted by section 1141 of the Bankruptcy Code, of and from any and
all Claims, Equity Interests, rights and liabilities of any kind, nature or description that
arose prior to the Effective Date. On the Effective Date, all holders of such Claims and
Equity Interests shall be forever precluded and enjoined, pursuant to section 524 of the
Bankruptcy Code, from prosecuting or asserting any such released and satisfied Claim
against the Debtors or any of their assets or properties, or the terminated Equity Interests
based on any act or omission, transaction, or other activity of any kind or nature that
occurred prior to the Effective Date, whether or not such holder has filed a proof of Claim
or proof of Equity Interest.

Except as otherwise provided herein or in the Confirmation Order, all
persons or entities who have held, now hold or may hold Claims against any of the Debtors
or Equity Interests and all other parties in interest, along with their respective present and
former employees, agents, officers, directors, principals and affiliates, are permanently
enjoined from and after the Effective Date, from (a) commencing or continuing in any
manner any action or other proceeding of any kind with respect to such Claim or Equity
Interest against the Debtors, (b) the enforcement, attachment, collection or recovery by any
manner or means of any judgment, award, decree or order against the Debtors with
respect to such Claim or Equity Interest, (c) creating, perfecting or enforcing any

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encumbrance of any kind against the Debtors or against the property or interests in
property of the Debtors with respect to such Claim or Equity Interest, or (d) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligations due from
Debtors, with respect to such Claim or Equity Interest, Such injunction shall extend to any
successors of the Debtors and their respective properties and interest in properties.

10.3 Term ofInjunctions or Stays.

Unless otherwise provided, all injunctions or stays arising under or entered
during the Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or
otherwise, and in existence on the Confirmation Date, shall remain in full force and effect
until the later of the Effective Date and the date indicated in the order providing for such
injunction or stay.

10.4 Injunction Against Interference with P1an.

On the entry of the Confirmation Order, all holders of Claims and Equity
Interests and other parties-in-interest, along with their respective present or former
employees, agents, officers, directors, or principals, shall be enjoined from taking any
actions to interfere with the implementation or consummation of the P1an.

10.5 Releases.

(a) As of the Effective Date, for good and Valuable consideration, the
adequacy of which is hereby confirmed, (i) the Debtors and any person seeking to exercise
the rights of the Debtors’ estates, including, without limitation, any successor to the
Debtors or any estate representative appointed or selected pursuant to section 1123(b)(3) of
the Bankruptcy Code, (ii) each holder of a Claim or Equity Interest that votes to accept the
Plan and (iii) each of the Settlement Agreement Parties ((i)-(iii) collectively, the “Releasing
Parties”) shall be deemed to unconditionally, forever release, waive, and discharge each
Released Party, from any and all Claims, obligations, suits, judgments, damages, demands,
debts, rights, causes of action, and liabilities whatsoever in connection with or related in
any way to the Debtors, the operation of the Debtors’ businesses, the incurrence by the
Debtors of any indebtedness or the use of proceeds thereof, the Chapter 11 Cases, and the
Plan, whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising, in |aw,
equity, or otherw`ise, that are based in whole or part on any aet, omission, transaction,
event, or other occurrence taking place on or prior to the Effective Date; provided, however,
that nothing in this Section 10.5 shall be deemed to waive or release the rights of the
Settlement Agreement Parties to enforce the Settlement Agreement or the P1an and the
contracts, instruments, indentures, and other agreements or documents delivered
thereunder or in connection therewith.

(b) Without limiting the generality of the foregoing, as of the Effective
Date, the Debtors shall be deemed to have waived the right to prosecute, and to have settled

and released for fair value, any avoidance or recovery actions under sections 506(c), 510
545, 546, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code or other applicable law

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that belong to the Debtors and/or which the Debtors could have prosecuted as debtors or
debtors in possession against the other Released Parties, whether brought under the
Bankruptcy Code or other applicable law.

(c) Entry of the Confirmation Order shall constitute the Bankruptcy
Court's approval of the releases set forth in this Section 10.5 pursuant to Bankruptcy Rule
9019 and its finding that they are: (i) in exchange for good and valuable consideration,
representing a good faith settlement and compromise of the Claims and causes of action
thereby released; (ii) in the best interests of the Debtors and all holders of Claims; (iii) fair,
equitable and reasonable; (iv) approved after due notice and opportunity for hearing; and
(v) a bar to any of the Releasing Parties asserting any Claim or cause of action thereby
released. `

10.6 Exculpation.

Notwithstanding anything provided herein, as of the Effective Date and
subject to the occurrence of the Effective Date, the following parties, entities, and
individuals shall have no liability for any action or failure to act with respect to
formulation, negotiation, preparation, eonfirmation, or consummation of the Plan or the
administration of the Chapter ll Cases (other than liability determined by a final order of
a court of competent jurisdiction for actions or failure to act amounting to willful
misconduct, intentional fraud, or criminal conduct arising out of the Chapter 11 Cases or
any liability arising out of an express contractual obligation)): (i) the Debtors, (ii) the
Settlement Agreement Parties, and (iii) with respect to each of the forgoing, each of their
respective direct or indirect subsidiaries, current and former officers and directors,
managers, members, employees, agents, representatives, financial advisors, professionals,
aecountants, and attomeys, and each of their predecessors, successors, and assigns.

10.7 Retention of Causes of Action/Reservation of Rights.

(a) Except with respect to the releases and exculpation provided hereunder,
the Debtors shall retain all causes of action, Claims, rights of setoff or recoupment, rights under
the Bankruptcy Code, including, without limitation, the right to require the turnover of property
of the Debtors’ estates, or any applicable non-bankruptcy law or rule, common law, equitable
principle or other source of right or obligation, including, without limitation, (i) any and all
Claims against any person or entity, to the extent such person or entity asserts a crossclaim,
counterclaim, and/or Claim for setoff which seeks affirmative relief against the Debtors, their
officers, directors, or representatives; and (ii) the turnover of any property of the Debtors’
estates.

(b) Nothing contained herein or in the Confirmation Order shall be deemed to
be a waiver or relinquishment of any claim, cause of action, right of setoff, or other legal or
equitable defense which the Debtors had immediately prior to the Petition Date, against or with
respect to any Claim left unimpaired by the P1an. The Debtors shall have, retain, reserve and be
entitled to assert all such claims, causes of action, rights of setoff, and other legal or equitable
defenses which they had immediately prior to the Petition Date fully as if the Chapter ll Cases
had not been commenced, and all of the Debtors’ legal and equitable rights respecting any Claim

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left unimpaired by the Pian may he asserted after the Confirrnation Date to the same extent as if
the Chapter 1] Cases had not been commenced

(c) Nothing in clauses (a) and (b) of this Section 10.7 shall be deemed to limit
or otherwise modify Section 10.5 or Section 10.6 hereon

10.8 Solicitation of the P1an.

As of and subject to the occurrence of the Confirmation Date: (i) the Debtors shall
be deemed to have solicited acceptances of the P1an in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections llZS(a) and
(e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation
governing the adequacy of disclosure in connection With such solicitation and (ii) the Debtors
and each of their respective managers, directors; officers, employees, affiliates, agents, financial
advisors, investment bankers, professionals, accountants, and attorneys shall be deemed to have
participated in good faith and in compliance with the applicable provisions of the Bankruptcy
Code in the offer and issuance of any securities under the Plan, and therefore are not, and on
account of Such offer, issuance, and solicitation will not be, liable at any time for any violation of
any applicable law, rule or regulation governing the solicitation of acceptances or rejections of
the P1an or the offer and issuance of any securities under the P1an.

10.9 Exemption from Certain Transfer Taxes.

Pursuant to section ll46(a) of the Bankruptcy Code, (a) the issuance, transfer or
exchange (or deemed issuance, transfer or exchange) of a security, including, without limitation,
the Hotel Equity, (b) the creation of any mortgage, deed of trust, Lien, pledge or other security
interest, or (c) the making or delivery of any deed or other instrument of transfer under, in
furtherance of, or in connection with the P1an (including, without limitation, any merger
agreements, agreements of consolidation, restructuring, disposition, liquidation, dissolution,
deeds, bills of sale and transfers of tangible property) will not be subject to any stamp tax,
recording tax, personal property tax, real estate transfer tax, sales tax, use tax, transaction
privilege tax (including, without limitation, such taxes on prime contracting and owner-builder
sales), privilege taxes (including, without limitation, privilege taxes on construction contracting
with regard to speculative builders and owner builders) or other similar taxes. Unless the
Bankruptcy Court orders otherwise, all sales, transfers and assignments of owned and leased
property approved by the Bankruptcy Court on or prior to the Effective Date shall be deemed to
have been in furtherance of or in connection with the P1an.

10.10 Section 1145 Exemption.

Pursuant to section ll45(a) of the Bankruptcy Code, neither section 5 of the
Securities Act of 1933 nor any state or local law requiring registration for offer or sale of a security
or registration or licensing of an issuer of, underwriter of, or broker or dealer in, shall apply with
respect to any security being offered, sold or transferred under this Plan, inciuding without limitation
to the equity interests in Hotel Owner or the equity interests in Venture LLC.

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10.11 Cm'porateActc'on.

(_a) Upon the Effective Date, all matters provided herein that would otherwise
require approval of the stockholders, members, managers or directors of the Debtors, including,
without limitation, (i) the execution and entry into, and performance under, the Settlement
Agreement and all documents and agreements in connection therewith, (ii) the transfer or
distribution of the interests in Venture LLC, (iii) the Sale and (iv) all other actions contemplated
by the P1an (whether to occur before, on or after the Effective Date) shall be deemed to have
occurred and shall be in effect from and after the Effective Date pursuant to the applicable
general corporation or limited liability company law of the states in which the Debtors are
incorporated, without any requirement of further action by the stockholders or directors of the
Debtors,

(b) On or (as applicable) prior to the Effective Date, the appropriate officers,
agents or representatives of the Debtors (inc]uding, any authorized member, manager, vice-
president, president, chief executive officer, treasurer or chief financial officer of any Debtor), as
applicable, shall be authorized and directed to issue, execute and deliver the agreements,
documents, securities, and instruments contemplated by the P1an (or necessary or desirable to
effect the transactions contemplated by the P1an) in the name of and on behalf of the Debtors,
including any agreements, instruments and documents in connection with the Settlement
Agreement The authorizations and approvals contemplated by this Section shall be effective
notwithstanding any requirements under nonbankruptcy law.

10.12 Termination ofSubordination Rights and Settlement of Related Claims.

The classification and manner of satisfying all Claims and Equity Interests under
the Plan take into consideration all subordination rights, whether arising by contract or under
general principles of equitable subordination, section 510(b) and (c) of the Bankruptcy Code or
otherwise. All subordination rights that a holder of a Claim or Equity lnterest may have with
respect to any distribution to be made pursuant to the P1an will be discharged and terminated and
all actions related to the enforcement of such subordination rights will be permanently enj oined.
Accordingly, distributions pursuant to the P1an to holders of Allowed Claims will not be subject
to payment to a beneficiary of such terminated subordination rights or to levy, garnishment,
attachment or other legal process by a beneficiary of such terminated subordination rights;
provided, however, that nothing contained herein shall preclude any Person or entity from
exercising their rights pursuant to and consistent with the terms of the P1an and the contracts,
instruments, releases and other agreements or documents delivered under or in connection with
the P1an. '

l 0.13 Compromise and Settlement

Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Ru]e 9019, and
in consideration for the distributions and other benefits provided pursuant to the P1an, the
provisions of the P1an shall constitute a good faith compromise of all Claims and Equity
Interests The entry of the Confirmation Order shall constitute the Bankruptcy Court's approval
of the compromise or settlement of all Claims and Equity Interests, including, without limitation,
the Settlement Agreement, as well as a finding by the Bankruptcy Court that such compromise or

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settlement is fair, equitable, reasonable and in the best interests of the Debtors, the Estates and
holders of Claims and Equity lnterests.

SECTION ll. RETENTION OF JURISDICTION

On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction
over all matters arising in, arising under, and related to the Chapter ll Cases for, among other
things, the following purposes:

(a) to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and the allowance, classification, priority,
compromise, estimation, or payment of Claims resulting therefrom;

(b) to determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the Confirmation Date;

(c) to ensure that distributions to holders of Allowed Claims are accomplished
as provided herein;

(d) to allow, disallow, determine, liquidate, classify, estimate or establish the
priority or secured or unsecured status of any Claim or Equity Interest, including the resolution
of any request for payment of any Administrative Expense Claim and the resolution of any
objections to the allowance or priority of Claims or Equity Interests;

(e) to resolve any matters related to the assumption, assumption and
assignment or rejection of any executory contract or unexpired lease to which any Debtor is
party or with respect to which any Debtor may be liable, including, without limitation, any
matter relating to the terms and conditions of any such executory contract or unexpired lease as
assumed or assigned, or the obligation of any party to perform thereunder, and to hear,
determine, and if necessary, liquidate any Claims arising therefrom;

(f) to enter, implement, or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

(g) to issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Person with the
consummation, implementation, or enforcement of the Plan, the Confirmation Order, or any
other order of the Bankruptcy Court;

(h) to hear and determine any application to modify the P1an in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in the P1an, the Disclosure Statement for this chapter ll Plan, or any order of the
Bankruptcy Court, including the Confirmation Order, in such a manner as may be necessary to
carry out the purposes and effects thereof;

(i) to hear and determine all applications under sections 330, 331, and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred prior to the Confirrnation Date;

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(j) to hear and determine disputes arising in connection with the
interpretation1 implementation, or enforcement of the Plan, the Confirmation Order, any
transactions or payments contemplated hereby_. or any agreement, instrument, or other document
governing or relating to any of the foregoing, provided that, notwithstanding the foregoing, any
forum selection provisions in such agreements, instruments, or other documents shall be
respected;

(k) - to take any action and issue such orders as may be necessary to construe,
enforce, implement, execute, and consummate the P1an or to maintain the integrity of the P1an
following consummation;

(l) to hear any disputes arising out of, and to enforce, the order approving
alternative dispute resolution procedures to resolve personal injury, employment litigation, and
similar claims pursuant to section lUS(a) of the Bankruptcy Code;

(m) to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

(n) to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

(o) to hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;

(p) to enter a final decree closing the Chapter ll Cases;

(q) to enforce all orders, judgments, injunctions, releases, exculpations,
indemnifications and rulings entered in connection with the Chapter 11 Cases;

(r) to recover all assets of the Debtors and property of the Debtors’ estates,
wherever located; and

(s) to hear and determine any rights, Claims, or causes of action held by or
accruing to the Debtors pursuant to the Confirmation Order, the Bankruptcy Code or any federal
statute or legal theory.

SECTION 12. MISCELLANEOUS PROVISIONS
12.1 Payment ofStatutory Fees.

On the Effective Date, and thereafter as may be required, the Debtors shall pay all
fees payable pursuant to section 1930 of chapter 123 of title 28 of the United States Code.

12.2 Substantial Consummation.

On the Effective Date, the P1an shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.

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12.3 Amendments.

(a) P1an Modg'fications. The P1an may be amended, modified, or
supplemented by the Debtors, with the reasonable consent of DekaBank, Host and USRHC, in
the manner provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by
law without additional disclosure pursuant to section 1125 of the Bankruptcy Code. In addition,
after the Confirmation Date, with the reasonable consent of DekaBank, Host and USRHC, the
Debtors may institute proceedings in the Bankruptcy Court to remedy any defect or omission or
reconcile any inconsistencies in the P1an or the Confirmation Order, with respect to such matters
as may be necessary to carry out the purposes and effects of the P1an.

(b) Other Amendments. Subject to the terms of the Settlement Agreement,
prior to the Effective Date, the Debtors, with the reasonable consent of DekaBank, Host and
USRHC, may make appropriate technical adjustments and modifications to the P1an without
f\n'ther order or approval of the Bankruptcy Court.

12.4 E”ectuating Documents and Further Transactions.

Each of the officers, managers and members of the Debtors is authorized, in
accordance with their respective authority under the resolutions of the applicable board of
directors, managers or members or under the organizational documents of the Debtors, to
execute, deliver, file, or record such contracts, instruments, releases, indentures, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of the P1ann

12.5 Revocation, Withdruwal, or Non-Consummation of the Plan,

Subject to the terms of the Settlement Agreement, the Debtors reserve the right,
with the reasonable consent of DekaBank, Host and USRHC, to revoke or withdraw the P1an at
any time prior to the Conflrmation Date and to file other plans. lf the Debtors revoke or
withdraw the Plan, or if Confirmation Order is not entered or consummation of the P1an does not
occur, then (i) the P1an shall automatically be deemed withdrawn and null and void in all
respects, (ii) any settlement or compromise embodied in the P1an (including the fixing or limiting
to an amount any Claim or Class of Claims), assumption or rejection of executory contracts or
leases effected by the Plan, and any document or agreement executed pursuant to the P1an shall
be deemed null and void, and (iii) nothing contained in the Plan, and no acts taken in preparation
for consummation of the Plan, shall (a) constitute or be deemed to constitute a waiver or release
of any Claims by or against, or any Equity Interests in, the Debtors or any other Person, (b)
prejudice in any manner the rights of the Debtors or any Person in any ftu'ther proceedings
involving the Debtors, or (c) constitute an admission of any sort by the Debtors or any other
Person.

12.6 Severabr'lity.

If, prior to the entry of the Confinnation Order, any term or provision of the P1an
is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at
the request of the Debtors, with the reasonable consent of DekaBank, Host and USRHC, shall
have the power to alter and interpret such term or provision to make it valid or enforceable to the

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maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted Notwithstanding any such holding, alteration, or interpretation, the remainder of
the terms and provisions of the P1an will remain in full force and effect and will in no way be
affected, impaired, or invalidated by such holding, alteration, or interpretation The
Conflrmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is valid and enforceable pursuant to its terms. No alteration or interpretation of the
P1an pursuant to this section shall operate to modify or amend the terms and conditions of the
Settlement Agreement without the consent of the Settlement Agreement Parties in their sole
discretion

12.7 Goverm'ng Law.

Except to the extent that the Bankruptcy Code or other federal law is applicable,
or to the extent an exhibit hereto or a schedule in the P1an Supplement provides-otherwise, the
rights, duties, and obligations arising under the P1an shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof.

12.8 Time.

In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

12.9 Binding Effect.

The P1an shall be binding on and inure to the benefit of the Debtors, the holders of
Claims and Equity Interests, and each of their respective successors and assigns, and all other
parties-in-interest in the Chapter 11 Cases.

12.10 Conflicts.

In the event that the provisions of the Disclosure Statement and the provisions of
the Plan contlict, the terms of the P1an shall govem.

12.11 Notices.

All notices, requests, or demands to or on the Debtors shall be (i) in writing, (ii)
served by certified mail (return receipt requested), hand delivery, overnight delivery service, first
class mail, or facsimile transmission, and, (iii) unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when actually delivered or, in the case of notice by
facsimile transmission, when received and telephonical]y confirmed, addressed as follows:

For the Debtors:

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POTTER ANDERSON & C()RROON LLP
Hercules Plaza, 6th Floor
1313 N. Market Street
P.O. Box 951
Wilmington, Delaware 19899-0951
Attn: Steven M. Yoder, Esq.
Jeremy W. Ryan, Esq.
Telephone: (302) 984“6000
Facsimile: (302) 658-1192

For LEM:
Jay Eisner
2929 Arch Street
Philadelphia, PA 19104-2868
Telephone: (215) 972-3322
Facsimile: (215) 557-9606

-and-

ALLEN & OVERY LLP
Kevin J. O’Shea, Esq.

1221 Avenue of the Americas
New York, New York 10020
Telephone: (212) 610-6454
Facsimile: (212) 610-6399

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For DekaBank:
DEKABANK DEUTSCHE GIROZENTRALE
Mainzer LandstraBe 16
60325 Frankfurt am Main
Germany
Attention: Burkhard Mau
Facsimile: +49 (0) 69 71 47 - 28 75

..and_

SONNENSCHEIN, NATH & ROSENTHAL LLP
Two World Financial Center

New York, New York 10281, USA

Attention: Gary A. Goodman, Esq.

Facsimile: (212) 768-6800

F or USRHC:
ISTITHMAR WORLD
The Galleries
Building 4, Level 6
Downtown Jebel Ali _
PO Box 17000
Dubai
United Arab Emirates
Attn: Andy Watson
Facsimile: +9'71 4 390 3258

- and_

ISTITHMAR WORLD

The Galleries

Building 4, Level 6
Downtown J ebel Ali

PO Box 17000

Dubai

United Arab Emirates

Attn: Nick Homung
Facsimile: +971 4 361 2680

_and-

PAUL HASTINGS JANOFSKY & WALKER LLP
515 South Flower Street

25th Floor

Los Angeles, CA 90071

Attn: Rick S. Kirkbride, Esq.

Facsimile: (213) 996-3261

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For Host:

HOST HOTELS & RESORTS, L.P.
6903 Rockledge Drive

Suite 1500

Bethesda, MD 20817

Attn: David L. Buckley, Esq.
Telephone:

Facsimile: (240) 744~5305

_and_

ARNOLD & PORTER LLP

555 Twelfth Street, NW

Washington, D.C. 20004-1206

Attn: Michael D. Goodwin, Esq.
Michael J. Canning, Esq.

Telephone: (202) 942-5000

Facsimile: (202) 942-5999

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Dated: July 14, 2010

Respectfully submitted,
HOTELS UNION SQUARE MEZZ 1 LLC
By:

Name:
Title:

 

HOTELS UNION SQUARE MEZZ 2 LLC

By:
Name:
Title:

 

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